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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
--------------------------------------------------------- X
                                                          :
UNITED STATES OF AMERICA,
                                                          :
                  -against-
                                                          :      Crim. No. 2:19-cr-877-CCC
MATTHEW BRENT GOETTSCHE,
RUSS MEDLIN,                                              :      NOTICE OF MOTION
JOBADIAH SINCLAIR WEEKS,
JOSEPH FRANK ABEL, and                                    :
SILVIU CATALIN BALACI
                                                          :
                           Defendants.
------------------------------------------------------ X


        PLEASE TAKE NOTICE that on Monday, October 17, 2022, at 10 a.m. or as soon

thereafter as counsel may be heard, the undersigned attorney for Defendant Matthew Brent

Goettsche shall move before Hon. Michael A. Hammer, U.S.M.J. for an Order pursuant to Civil

Local Civil Rule 5.3(c) to seal the unredacted version of Defendant Goettsche’s Motion to

Modify Conditions of Pretrial Release (the “Filing”).

        The undersigned shall rely upon the annexed Declaration of Rodney Villazor and

requests that this motion be decided on the papers submitted without oral argument. Pursuant to

Local Civil Rule 5.3(c)(1), the undersigned has conferred with counsel for the government who

stated that they do not intend to oppose the motion to seal.



DATED: September 21, 2022                                      Respectfully submitted,

                                                                 s/ Rodney Villazor

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